AO 245B (Rev. 02/16) Judgment in a Criminal Case
         Sheet 1



                                          UNITED STATES DISTRICT COURT
                                      MIDDLE District of TENNESSEE
                                                   )
              UNITED STATES OF AMERICA             )     JUDGMENT IN A CRIMINAL CASE
                         v.                        )
                                                   )
              JAMES THOMAS JOHNSON, JR.            )     Case Number:         3:14-00179-7
                                                   )     USM Number:          22703-075
                                                   )
                                                   )     Paul Bruno
                                                   )     Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the Superseding Indictment.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                        Offense Ended              Count
21 U.S.C.§846                    Lesser Included Offense of Conspiracy to Distribute and Possess          11/2014                      1
                                 With Intent to Distribute less than 500 Grams of Cocaine




       The defendant is sentenced as provided in pages 2 through               6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
X Count(s) Forfeiture allegation one                   X is            are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        October 7, 2016
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge




                                                                        ALETA A. TRAUGER, U.S. District Judge
                                                                        Name and Title of Judge


                                                                        October 17, 2016
                                                                        Date



                Case 3:14-cr-00179                 Document 314          Filed 10/17/16            Page 1 of 6 PageID #: 757
AO 245B (Rev. 02/16) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                        Judgment—Page        2   of   6
 DEFENDANT:                    JAMES THOMAS JOHNSON, JR.
 CASE NUMBER:                  3:14-00179-7


                                                             IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 Time served.




         The court makes the following recommendations to the Bureau of Prisons:




         The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
              at                                     a.m.         p.m.        on                                         .
              as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                            .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL




                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL




                   Case 3:14-cr-00179            Document 314             Filed 10/17/16       Page 2 of 6 PageID #: 758
AO 245B (Rev. 02/16) Judgment in a Criminal Case
        Sheet 3 — Supervised Release

                                                                                                                       Judgment—Page         3      of         6
 DEFENDANT:                      JAMES THOMAS JOHNSON, JR.
 CASE NUMBER:                    3:14-00179-7

                                                                 SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 3 years.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
 the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
 defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
 court.
          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

 X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the
          probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or was convicted
          of a qualifying offense. (Check, if applicable.)

          The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
            paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
            granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
            court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with
            such notification requirement.




                    Case 3:14-cr-00179                  Document 314               Filed 10/17/16             Page 3 of 6 PageID #: 759
AO 245B (Rev. 02/16) Judgment in a Criminal Case
        Sheet 3C — Supervised Release

                                                                                        Judgment—Page   4      of   6
DEFENDANT:                  JAMES THOMAS JOHNSON, JR.
CASE NUMBER:                3:14-00179-7

                                           SPECIAL CONDITIONS OF SUPERVISION
1.        The defendant shall participate in a program of drug testing and substance abuse treatment which may
          include a 30-day inpatient treatment program followed by up to 90 days in a residential reentry center
          at the direction of the United States Probation Office. The defendant shall pay all or part of the costs if
          the Probation Officer determines the defendant as the financial ability to do so or has appropriate
          insurance coverage to pay for such treatment.

2.        The defendant shall furnish all financial records, including, without limitation, earnings records and tax
          returns, to the United States Probation Office upon request.

3.        The defendant shall be required to participate in an adult education program and prove consistent
          effort, as determined appropriate by the United States Probation Office, toward obtaining a General
          Equivalency Diploma (GED).

4.        The defendant is prohibited from owning, carrying, or possessing firearms, destructive devices, or other
          dangerous weapons.

5.        The defendant shall cooperate in the collection of DNA as directed by the United States Probation
          Office.




                Case 3:14-cr-00179                 Document 314   Filed 10/17/16   Page 4 of 6 PageID #: 760
AO 245B (Rev. 02/16) Judgment in a Criminal Case
         Sheet 5 — Criminal Monetary Penalties

                                                                                                         Judgment — Page       5       of      6
 DEFENDANT:                         JAMES THOMAS JOHNSON, JR.
 CASE NUMBER:                       3:14-00179-7

                                                   CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                       Fine                                 Restitution
 TOTALS             $ 100                                            $                                    $

      The determination of restitution is deferred until             .An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                         Restitution Ordered                     Priority or Percentage




TOTALS                                 $                                    $

       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the        fine              restitution.

            the interest requirement for the          fine       restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

                 Case 3:14-cr-00179                 Document 314           Filed 10/17/16         Page 5 of 6 PageID #: 761
AO 245B (Rev. 02/16) Judgment in a Criminal Case
        Sheet 6 — Schedule of Payments

                                                                                                                Judgment — Page        6       of        6
DEFENDANT:                   JAMES THOMAS JOHNSON, JR.
CASE NUMBER:                 3:14-00179-7

                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X     Lump sum payment of $          100                   due immediately, balance due (special assessment)

                  not later than                                     , or
                  in accordance               C,         D,           E, or            F below; or
B           Payment to begin immediately (may be combined with                    C,           D,            F below); or
C           Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or
D           Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or
E           Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F           Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


                 Case 3:14-cr-00179                Document 314               Filed 10/17/16           Page 6 of 6 PageID #: 762
